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               STARN O'TOOLE MARCUS f) FISHER
                                     A   LAW   CORPORATION




                                         J uly 22, 2024
VIA EMAIL

Magistrate Judge Kenneth J. Mansfield
U.S. District Court, District of Hawaii
300 Ala Moana Blvd, C-338
Honolulu, HI, 96850
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       Re:    County of Matti, Department ofEnvironmental Management v. Komar
              Maui Properties 1 LLC, Case No. 1:24-cv-00203-KJM
              July 25, 2024 Status Conference at 9:30 am

Dear Judge Mansfield:
      Pursuant to the Court's EO [Dkt. 32], Defendant Komar Maui Properties
LLC ("Komar") submits this letter indicating the substance anticipated to be
discussed at the July 25, 2024 Status Conference with the Court.
       The status conference was requested by the County, to which Komar's
counsel indicated it had no objection, understanding it was to address how to move
forward. The County's request for the status conference states, "The County wants
to update the Court about the parties' efforts to mediate the matter and to discuss the
County's request to expedite the eminent domain proceedings." Komar had no
further information on what the County is contemplating regarding proceeding until
receiving the County's letter this afternoon. Per the Court's July 15, 2024 Order
Denying Plaintiffs Motion for an Order of Possession [Dkt. 30], Federal Rule of
Civil Procedure ("FRCP") Rule 71.1 governs eminent domain proceedings in this
Court.
      Regarding mediation, prior to requesting the status conference, counsel for the
County contacted me regarding potential settlement and mediation. The parties
previously exchanged communications regarding early mediation, and a meeting
between Komar and Mayor Bissen had been scheduled but has now twice been
cancelled by the Mayor at the last minute. Most recently, a meeting scheduled for
Friday, July 12 was postponed "indefinitely," after four Komar representatives flew
in from across the country to attend the meeting. At this point, we are concerned that
mediation or settlement efforts be genuine.
    Pacific Guardian Center, Makai Tower 733 Bishop Street, Suite 1900 Honolulu, Hawaii 96813
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The Honorable Kenneth J. Mansfield
July 22, 2024
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      Komar's answer to the County's complaint raises a number of defenses and
challenges to the County's right to take, including on the basis of failure to comply
with environmental review requirements and bad faith. Further discovery, including
written discovery, depositions, third-party discovery, and potentially, experts, are
needed before Komar's defenses and right to take challenges can be fairly
adjudicated.


                                          Very truly yours,




                                          Sharon V. Lovejoy

ec: Thomas W. Kolbe, Esq.(via email)
    Mariana Lowy-Gerstmar, Esq.(via email)
